              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


IN THE MATTER OF THE SEARCH OF                :
INFORMATION THAT IS STORED AT                 :
PREMISES CONTROLLED BY GOOGLE                 :   1:22MJ479
LLC

                                    ORDER

       The government having moved that the search warrant materials filed

in this case be sealed and the court being apprised of the reasons therefor, IT

IS HEREBY ORDERED that the search warrant materials be sealed until

further order of the court.

       The Court has inherent authority to order the sealing of a search

warrant affidavit. Baltimore Sun Co. v. Goetz, 886 F.2d 60, 64 (4th Cir. 1989).

       On the ex parte showing before the court, the court considers that the

government has made a prima facie showing that justifies sealing the search

warrant materials.

       The search warrant materials, including the application, affidavit,

warrant, and warrant return, as well as the government's supplement to the

motion to seal, shall be placed under seal by the clerk.




                               L. PATRICK AULD
                               UNITED STATES MAGISTRATE JUDGE

Date        ( 0 C(13

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